Case 19-01234-KCF   Doc 1-1 Filed 04/28/19 Entered 04/28/19 15:09:35   Desc
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Case 19-01234-KCF   Doc 1-1 Filed 04/28/19 Entered 04/28/19 15:09:35   Desc
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Case 19-01234-KCF   Doc 1-1 Filed 04/28/19 Entered 04/28/19 15:09:35   Desc
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Case 19-01234-KCF   Doc 1-1 Filed 04/28/19 Entered 04/28/19 15:09:35   Desc
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Case 19-01234-KCF   Doc 1-1 Filed 04/28/19 Entered 04/28/19 15:09:35   Desc
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Case 19-01234-KCF   Doc 1-1 Filed 04/28/19 Entered 04/28/19 15:09:35   Desc
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Case 19-01234-KCF   Doc 1-1 Filed 04/28/19 Entered 04/28/19 15:09:35   Desc
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Case 19-01234-KCF   Doc 1-1 Filed 04/28/19 Entered 04/28/19 15:09:35   Desc
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